Case 18-10170-jal       Doc 11      Filed 03/08/18      Entered 03/08/18 15:49:11       Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  AT BOWLING GREEN

IN RE:                                          |       Case No. 18-10170-jal
                                                |
Carol Sue Doyle                                 |       Chapter 7
                                                |
Debtor                                          |
                                                |
                                                |
                                                |
                                                |
                                                |       ORDER GRANTING
                                                |       MOTION FOR RELIEF FROM STAY
                                                |
                                                |       ____________________________________


         This matter is before the Court upon the Motion for Relief from Stay filed herein by the

secured creditor, First and Farmers National Bank, Inc; and it appearing to the Court that the

debtors, their counsel, the Trustee and any lienholders were served with a copy of said Motion as

indicated on the Certificate of Service attached to said Motion, and were served with a notice and

opportunity for hearing; and it further appearing that movant’s Motion is well taken; accordingly,

and being otherwise thoroughly and sufficiently advised;

         IT IS ORDERERD THAT the automatic stay imposed by Section 362 of the Bankruptcy

Code shall be, and hereby is terminated in all respects as against the said movant, and its successors

and assigns.

         IT IS HEREBY ORDERED that the stay afforded by 11 U.S.C. §362 be, and hereby is,

immediately terminated notwithstanding BR4001 (a) (3) to permit First and Farmers National

Bank, Inc., to enforce its security interest in the collateral as follows:
Case 18-10170-jal       Doc 11     Filed 03/08/18     Entered 03/08/18 15:49:11        Page 2 of 3



       1. Real Property: Movant is the holder of a mortgage lien on certain real estate property

           owned by the debtors in Adair County, Kentucky, more particularly described as

           follows:

               A certain tract or parcel of land lying and being in Adair County,
               Kentucky, and snore particularly described as follows:

               Beginning at a found ½” x 18” re-bar with cap #3318 on the
               northwest right way of Hwy, #2969 (Snake Creek Road) and N 19
               deg. 17’ 24” E 81.91 feet from the northeast corner of Burton’s
               house and corner to Snake Creek Farm, LLC (Deed Book 222 page
               285); thence leaving aforementioned deed and with right of way
               and crossing driveway S 40 def. 34’ 00” E 180.64 feet to a found
               ½” x 18” re-bar with cap #3318 and another corner with Snake
               Creek Farm, LLC; thence leaving right of way and common lines
               with aforementioned deed S 710 def. 51’ 27” W 203.42 feet to
               found iron pin (found) with cap #1401; thence N 29 deg. 17’ 17”
               W 133.15 feet to found ½” x 18” re-bar with cap #3319; thence N
               57 deg. 52’ 34” E 165.11 feet to the point of beginning, containing
               0.64 acre.

               This survey is subject to any and all easements, restrictions and
               rights of way of record at this time. Magnetic North was observed
               in the field near then ort side of the property on 07/03/00 with
               reference bearing northeast 785 degree.

               This being the same property conveyed by Deed dated January 8th,
               2001 from Carol Simpson, single, to Betty Simpson, single and
               Carol Simpson, single which is found of record in Deed Book 251
               page 344, records of the Adair County Clerk’s Office, Kentucky.

       The automatic stay is further terminated to allow the Creditor to send to the debtor(s) and/or

any co-debtor(s) protected by the stay under 11 U.S.C. Sections 1301 or 1201, any and all notices

required by state and/or federal law, regulation or statute.

       IT IS FURTHER ORDERED that, after the Creditor liquidates the collateral, Creditor shall

file an amended Proof of Claim evidencing how the net proceeds from the sale were applied to the

balance due on the creditor’s secured claim.
Case 18-10170-jal   Doc 11     Filed 03/08/18   Entered 03/08/18 15:49:11   Page 3 of 3




TENDERED BY:

JUDD, SATTERFIELD & ASSOCIATES, PLLC
869 Broadway Aveunue
P.O. Box 51093
Bowling Green, KY 42102
Telephone: 270.904.4141

s/Harlan E. Judd, III
____________________________
Harlan E. Judd, III
